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                                                                                        United States District Court
Case 4:18-cv-00424-ALM-CMC Document 153 Filed 01/13/20 Page 4 of 4 PagelD   #: District
                                                                      Southern  3533of Texas
                                                                                             ENTERED
                                                                                           January 30, 2020
                                                                                          David J. Bradley, Clerk
                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

   JESSICA CASEY and JASON COLEMAN,
   on behalf of the RVNB Holdings, Inc.
   Employee Stock Ownership Plan, and on
   behalf of a class of all other persons
   similarly situated,
                                                        Case No. Sherman 4:18-CV-00424-ALM
                          Plaintiffs,                   Case No. Houston 4:19-cv-2439

   v.

   RELIANCE TRUST COMPANY, a
   Georgia corporation,

                          Defendant.


                                  ORDER GRANTING
                          JOINT MOTION TO STAY PROCEEDINGS

          After considering the Parties' Joint Motion to Stay Proceedings, the Court:

          GRANTS the Parties' Joint Motion to Stay Proceedings;

          ORDERS that all current and remaining deadlines are vacated and the case is stayed for 60

  days; and

          ORDERS that the parties file their motion for preliminary approval of class settlement by

  March 13, 2020.




        JAN 3 0 2020
